 Case: 1:21-cv-06243 Document #: 176 Filed: 05/21/25 Page 1 of 1 PageID #:708

                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                Eastern Division

Christian A. Gonzalez
                                Plaintiff,
v.                                                  Case No.: 1:21−cv−06243
                                                    Honorable Jeffrey I Cummings
J Rodriguez, et al.
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 21, 2025:


       MINUTE entry before the Honorable Jeffrey I Cummings: Plaintiff's motion to
extend the temporary restraining order [20] is granted. The TRO entered on 5/8/25 is
extended to 6/5/25. Mailed notice (cc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
